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AO 91 (Rev. 11/11) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                        District of Delaware

                  United States of America                         )
                                V.                                 )
            ANDRES GORDILLO TERRASO,
                                                                   )       Case No.    /] (M  r4,-
               a/k/a ISMAEL LOZANO,                                )                  19-~
                a/k/a CUVA DONATO,                                 )
                                                                   )
                                                                   )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   June 12, 2019                in the county of           New Castle            in the
                       District of           Delaware
                                        ---------
                                                              , the defendant(s) violated:

            Code Section                                                     Offense Description
8 U.S.C. § 1326(b)(2)                          Illegal Reentry of Previously Removed Alien




         This criminal complaint is based on these facts:
See the attached Affidavit.




         ~ Continued on the attached sheet.




                                                                                             Printed name and title

Sworn to before me and signed in my presence.


Date:             07/15/2019


City and state:                      Wilmington, Delaware                                                 .S. Magistrate Judge
                                                                                             Printed name and title
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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA                               )
                                                       )
               V.                                      )       CRIM. ACT. NO. 19 -- - - -
                                                       )
ANDRES GORDILLO TERRASO,                               )
a/k/a ISMAEL LOZANO,                                   )
a/k/a CUVA DONATO,                                     )
                                                       )
                       Defendant.                      )



                    AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


       Your affiant, John Hanlon, being duly sworn, does depose and say:

        1. I am a Deportation Officer with the Department of Immigration & Customs Enforcement

("ICE"), a branch of the United States Department of Homeland Security ("DHS"), at the ICE office

located in Dover, Delaware. I have been employed by Immigration and Customs Enforcement since

January 2, 2007.

       2. This investigation is based upon information provided in DHS/ICE records, National

Crime Information Center ("NCIC") records, Federal Bureau of Investigation ("FBI") records, and

by my own observations, interviews, training and experience. Since this affidavit is only for

purposes of establishing probable cause for an arrest pursuant to Title 8, United States Code,

Sections 1326(b)(2), not all facts related to this investigation are contained herein.

       3. On or about June 12, 2019, the Howard R. Young Correctional Institution in Wilmington,

Delaware notified the ICE Dover office that a possible illegal alien was in their custody. ICE

database and NCIC record checks were conducted that indicated that the subject, Andres

GORDILLO TERRASO, was a possible illegal alien from Mexico.

       4.   On June 12, 2019, Deportation Officers obtained the fingerprints of GORDILLO
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TERRASO at the Howard R. Young Correctional Institution in Wilmington, Delaware. Officers

queried the subject's fingerprints in ICE's automated database. The results of that query showed

that these fingerprints matched Alien #XXXXXX022.            Officers also searched GORDILLO

TERRASO's fingerprints in the FBI database. These fingerprints matched FBI# XXXXXAC6.

       5. No post-arrest statements were made in this investigation.

       6.   Your affiant has reviewed DHS/ICE alien database records and GORDILLO

TERRASO's alien file (XXXXXX022), which reflect the following:

       a. GORDILLO TERRASO was born in Mexico.

       b. GORDILLO TERRASO originally entered the United States on or about an unknown

date, at an unknown location without admission, inspection, or parole from an Immigration

Official. GORDILLO TERRASO was encountered by Immigration Officers in 2010 while

incarcerated in the Delaware Department of Corrections.

       c. GORDILLO TERRASO was convicted on or about October 26, 2010 in New Castle

County, Delaware for the offense of Robbery 2nd (Title 11, Section 831 (A)(2) of the Delaware

Code), a crime punishable by more than one year in prison.

       d. On or about November 16, 2010, GORDILLO TERRASO was ordered removed to

Mexico as an aggravated felon as defined in section 237(a)(2)(A)(iii) of the Immigration and

Nationality Act, as amended, because he was convicted of an aggravated felony as defined under 8

U.S.C. § 1101(a)(43)(G).

       e. GORDILLO TERRASO was subsequently removed to Mexico through a port of entry in

Brownsville, Texas on December 17, 2010.

       f. The records contain no indication that GORDILLO TERRASO had obtained permission

from the United States government to re-enter the country.
                                                2
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       WHEREFORE, Your affiant avers that there is probable cause to believe that Andres

GORDILLO TERRASO, a citizen and alien of the Mexico, was found in the United States on June

12, 2019 after having been removed therefrom to Mexico on December 17, 2010 subsequent to an

Aggravated Felony conviction and not having obtained the express consent of the Secretary of

Homeland Security to reapply for admission to the United States in violation of Title 8, United States

Code, Sections l 326(b )(2).




                                         John Hanlon
                                         Deportation    er
                                         United St s Immigration & Customs Enforcement


Subscribed and sworn to
before me this 15th day of July, 2019




                                                 3
